                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

CASSIE J. POOLE,                             )
                                             )
                          Plaintiff,         )
                                             )
                     v.                      )     No. 1:18-cv-03255-JRS-MPB
                                             )
MED-1 SOLUTIONS, LLC,                        )
                                             )
                          Defendant.         )


                                        Order

   Cassie J. Poole sued MED-1 Solutions, LLC alleging violations of the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692e et seq. and Indiana’s Deceptive

Consumer Sales Act (“IDCSA”), Indiana Code § 24-5-0.5-3(a) and (b)(20). On March

20, 2020, the Court denied Plaintiff’s Motion for Summary Judgment and granted in

part MED-1’s Motion for Summary Judgment as to Poole’s FDCPA claims based on

her belief that Richard R. Huston was suing her or that litigation was imminent and

as to her claims under the IDCSA.

   MED-1’s Motion for Summary Judgment was limited to a few, narrow grounds,

but in opposing Poole’s Motion for Summary Judgment, MED-1 demonstrated that

Poole cannot prevail on any of her claims in this action. Therefore, the Court gave

Poole notice and a reasonable opportunity to respond as to why summary judgment

should not be granted in favor of Med-1 on the grounds not raised by MED-1 in its

own motion but raised in response to Poole’s cross-motion for summary judgment.

The deadline for Poole’s response has passed, and Poole filed no response. Nor has
she sought an extension of time within which to respond. Accordingly, under Fed. R.

Civ. P. 56(f)(2), the Court finds that MED-1 is entitled to summary judgment on all

of Poole’s claims. Final judgment will be entered accordingly.

   SO ORDERED.



Date: 4/15/2020




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